Case 2:11-cr-00071-RHW   ECF No. 123   filed 12/21/11   PageID.402 Page 1 of 6
Case 2:11-cr-00071-RHW   ECF No. 123   filed 12/21/11   PageID.403 Page 2 of 6
Case 2:11-cr-00071-RHW   ECF No. 123   filed 12/21/11   PageID.404 Page 3 of 6
Case 2:11-cr-00071-RHW   ECF No. 123   filed 12/21/11   PageID.405 Page 4 of 6
Case 2:11-cr-00071-RHW   ECF No. 123   filed 12/21/11   PageID.406 Page 5 of 6
Case 2:11-cr-00071-RHW   ECF No. 123   filed 12/21/11   PageID.407 Page 6 of 6
